                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Case 13-25656                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Doc 1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Filed 06/24/13 Entered 06/24/13 00:06:43                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Desc Main
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Document     Page 1 of 14
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                *                                                                                                                                                                                                                                                          +                                                                                                                                                                                                                      ,                                                                                                                                                           -                                                                               .                                                                                                           /                                                                                                                   0                                                                                                                                                       1                                                   2                                                                                               -                                                                           3                                               -                                                                   3                                                                                                              ,




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Northern District of Illinois                       !                                                                                       !                                                                       !                                                                                               !                                                                                   !                                                                               !                                                                                                   !                                                                       !                                                                                   !                                                               !                                                                                                           "                                                                                                                           #                                                   $                                                   %                                                       &                                                               #                                       '                                                                       %                                                                                               (                                                                       )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                !                                               !                                                       !                                           !                                               !                                               !                               !                                               !                                                   !                                                                   !




4                                                               5                                   6                                                                                           7                                                                                                       8                                                                                       9                                                                                   :                                                                                                                                                   7                                                       ;                                                                                                               <                                                                   8                                                               =                                                                                                               >                                                               ?                                                   9                                                                                                   ?                           @                                                                                                                                   A                                                                                               ?                       B                                                                                                               ?                                           A                                                       C                                                                                                       5                                                                   D                                               E                                                                               7                                               @                                                                                           <                                                           7                                                           =                                                                                           F                                                                                                                               5                                                                           G                                                       <                                                           E                                                                   H                                                                                                       ?                       =                                                               G                               <                                                       E                                       I                                                                                                                                           ?                                           A                                                   A                                                                           D                                       7                                                   J                                                   K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4                                                                                                       5                                       6                                                                                                                       7                                                                                       8                                                           9                                                                       L                                                                   8                                                       ?                       @                                                                           <                                                                                           :                                                                                                                       7                                                       ;                                                                           <                                                   8                                                       =                                                                                   >                                   M                                                       N                                                                   8                                   C                                                                                   G                                                       7                                               J                                                                                                                   >                               F                                                                                                                           5                                                                       G                                               <                                                                   E                                                               H                                                                                                               ?                       =                                                                               G                                           <                                                                   E                                                               I                                                                                                                                                                       ?                               A                                                                               A                                                                               D                                               7                                           J                                                               K




                «                                                                           ¬                                                                           ­                                                               ®                                                           ¯                                                                                                           °                                           ¬                                                                                                           ±                                                                                                       ²                                                                                                                                                               ³                                                                       ´                                                                                                       ­                                                                                                                       ®                                                               ²                                                                                                                                                                           µ                                                                                                                                                                           ¶




O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               O
                                                                D                               D                                                           P                                                           <                                                   Q                                                                                               7                                                   =                                                                                                               4                                                                                                                                                   5                                                                       6                                                                                                                                                               7                                                                   G                                                                                               C                                                                                                               G                                                                   7                                                                                   A                                                                                                                                   ;                                                                                           R                                                                                                                           <                                       Q                                                                                                   7                                                                                           :                                                                                                                                       7                                                   ;                                                                                       <                                                               8                                                               =                                                                                                               ?                                   @                                                                                                                                   <                                                   Q                                                                                                       7                                                                                                       D                                               5                                                           G                                   <                                                                               S                                                                               R                                                                                           7                                               5                                                   =                                                               G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           D                               D                                                                               P                                                                       <                                           Q                                                               7                                               =                                                                                           4                                                                                               5                                               6                                                                                                                                                   7                                                           G                                                                                   C                                                                                           G                                                           7                                                       A                                                                                   ;                                               R                                                                                       <                       Q                                                                               7                                                                                       L                                                                       8                                                                                   ?                       @                                                                                       <                                                                                               :                                                                                                                                   7                                                   ;                                                                                   <                                                               8                                                                       =                                                                                                               ?                           @                                                                                                                           <                                           Q                                                                                               7                                                                                                       D                                           5                                                                       G                                               <                                                                                       S                                                                           R                                                                           7                                                   5                                   =                                                           G




    >                       ?           @                                                                   T                                                       D       C                                                                                   A                                                                                   7                                                                                           6                                                                                                                                                               5                                                   =                                                                   =                                                                                                       ?                                       7                                                                                   A                                                                       E                                                                       6                                                                                                                                                       5                                                                               ?                                                                       A                                                                                               7                                                           @                                                                                                       E                                                                           5                                                       @                                                                                                       A                                                                                                   <                                           =                                                                       5                                                                               A                                                                               7                                                                                                   @                                                                                                   5                                                           6                                                                                                                                               7                                                                                   G                                           J                                                                   K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               >                                       ?                               @                                                                   T                                                                       D       C                                                                                           A                                                       7                                                                           6                                                                                                                           5                               =                                                   =                                                                           ?                                   7                                                                                   A                                                               E                                                               6                                                                                                                           5                                                           ?                               A                                                                       7                       @                                                                       E                                                   5                                               @                                                                           A                                                                                               <                                           =                                                                               5                                                                           A                                                                                   7                                                                                               @                                                                                               5                                                           6                                                                                                                                                           7                                                                       G                                               J                                                                   K




F                                           5                                                       G                           <                                                                   9                                                   8                                                           C                                                                                   =                                                                                                                           A                                                                                           ?                                               U                                                                                                       ?                                   <                                                                   G                                                                                                       8                                                                               9                                                                                                           M                                                                                                   8                                                                                               T                                                                                               V                                                                                       M                                                                                               7                                                                                   T                                                           V                                                                                   8                                                       =                                                                                                                   W                           @                                                                                                               A                                                                           ?                           B                                                                                                           ?                                       A                                                                       C                                                                                                           5                                                                       D                                                       X                                                   Y                                                                                                   5                                               Z                                                           N                                                                               5                                       R                                                                                       7                                           =                                                                                   W                                                       V               :                                                                                                                       V                                                                       >                                           W                                       Y                                                               W                           4                                                                   J                                       [                               \                                                           8                                   6                                                               N                                                                   D                           7                                   <                                                           7                                                                                       ]                                                                                           W                           4                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           F                                                                                               5                                               G                                       <                                                                                   9                                           8                                               C                                                           =                                                                                                           A                                                           ?                                   U                                                                   ?                           <                                                               G                                                                                               8                                                                   9                                                                                                   M                                                                               8                                                           T                                                       V                                                   M                                                               7                                                       T                                                   V                                                               8                                                           =                                                                                                   W                                       @                                                                                                       A                                                                                   ?                               B                                                                                                   ?                                               A                                                               C                                                                                                   5                                                                               D                                           X                                                           Y                                                                                               5                                                   Z                                                                                       N                                                                                           5                                           R                                                                                                   7                                               =                                                                                                       W                                                   V                           :                                                                                   V                                                       >                                   W                                                       Y                                                                       W                       4                                                                       J                               [                                       \                                                                           8                                                           6                                                                               N                                                                   D                           7                                       <                                       7                                               ]                                                                       W               4




    >                       ?               9                                                           6                                                                                           8                                                               =                                                                       7                                                                                       <                                                       Q                                                                                                           5                                                   @                                                                                                                                                                                           8                                                   @                                                                                                       7                                                                               E                                                                                           G                                           <                                                                   5                                                               <                                                                                           7                                                                                                                               5                                                                       D                                           D                                   J                                                               K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       >                                       ?                                           9                                                   6                                                                                                                       8                                                           =                                           7                                                                           <                                           Q                                                                               5                               @                                                                                                                                               8                                                       @                                                                                       7                                                                   E                                                                               G                                           <                                               5                                           <                                           7                                                                                       5                                           D                                           D           J                                                   K




            ·                                                                   ¸                                                   ·                                                               ¹




                                                                                                                                                                                                                                                                                    O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               O
    M                           <                               =                                                   7                                                   7                       <                                                                                                                                                                                                                       A                                                                                               A                                                                   =                                                                               7                                                                                       G                                                                                       G                                                                                                           8                                                                   9                                                                                           :                                                                                                                                               7                                                           ;                                                                                                           <                                                                               8                                                               =                                                                                                                   >                                               4                                                                                                                           8                                                                               V                                                                                   5                                               @                                                                                                   A                                                                                                                               M                                                                           <                                   =                                                                                       7                                                                       7                                                           <                                                           E                                                                                               \                                                                                                   ?                           <                                           R                                                                               E                                                       5                                                   @                                                                               A                                                                                           M                                                                   <                                                       5                                           <                                                           7                                           J                                                           K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           M                                                           <                               =                                                       7                                                                   7                                   <                                                                                                                                                                               A                                                                               A                                           =                                                   7                                                           G                                                                           G                                                                                                       8                                                           9                                                                               L                                                                       8                                                                   ?                       @                                                       <                                                               :                                                                                               7                                       ;                                                               <                                               8                                                   =                                                                                                       >                                   4                                                                                                                                               8                                                                                           V                                                                           5                                                   @                                                                                                           A                                                                                                                           M                                                                           <                                               =                                                                   7                                                                   7                                                               <                                                                   E                                                                           \                                                                                               ?                           <                                               R                                                                                           E                                                                   5                                               @                                                                   A                                                                                           M                                               <                                                       5                               <                                               7                               J                                       K




                                                                                                                                                                                                                                                                                                                                                «                                                                                                                                                           ¬                                                                                                       ­                                                                                                               ®                                                                                       ¯                                                                                                   ¬                                                                                                       ¼                                                       ­                                                                                                                   ½                                                                                                                                           ¾                                                                                                                                                                                                   ¿                                                                                                                                                                                       ²                                                                                               À
                    ¸                           º                                                                       ¹                                                                   »




                                                                        ¬                                                               ®                                       ¾                                                                                       ­                                                                                               ¾                                                                                                                                                                                   Â                                                                                                                                   °                                                   Ã                                                           Ã                                               Ä                                                                                                                       ³                                                                                           Å                                   Ã                                               Ã                                           °                                   ¾                                                                                                                   ­                                                                                                                                       °                                           Ä
        Á




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ¹                                                                                   »                                                                               »                                                                           ¹                                                                                                       ¸
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ^                                                                   W                       _                                                                                       \                                               P                                                               :                                                                                       ]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ^                                                                           W                   _                                                                                               \                                                                           P                                                                   :                                                                                   ]




    \                                               8                                               C                                                           @                                                   <                                       R                                                                                                                                               8                                                                                           9                                                                           `                                                                                                                                           7                                                                                                       G                                                               ?                                               A                                                                           7                                                           @                                                                                                               T                                                                           7                                                                                                                                               8                                                                       =                                                                                                                           8                                                                               9                                                                           <                                               Q                                                                                                       7                                                                                       _                                                                                       =                                                                           ?                               @                                                                                               T                                                                               ?                       N                                                                                                               5                                                                       D                                                                           _                                                                                                               D                                           5                                                                   T                                                                           7                                                                                       8                                                           9                                                               a                                                                                       C                                                                           G                                                               ?           @                                                                                                   7                                                   G                                                           G                                                   K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       \                                                                                       8                                           C                                                                           @                                                           <                                       R                                                                                                       8                                                                       9                                                               `                                                                                               7                                                                           G                                                               ?                                           A                                                                   7                                               @                                                                                                   T                                                               7                                                                                   8                                                   =                                                                               8                                                           9                                   <                                                   Q                                                                           7                                                                               _                                                                                               =                                                                           ?                           @                                                                                                           T                                                                   ?                       N                                                                                                           5                                                                       D                                                                   _                                                                                                                       D                                               5                                                                   T                                                                           7                                                                                                                       8                                                                       9                                                       a                                                                                                                   C                                                                                           G                                                   ?                                       @                                                               7                                                   G                                   G                                                   K




                        ´                                                   ²                                                                   Æ                                                       ¬




                                                                                                                                                                                                                                                                                                                                                                                                                    O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               O
I                                                                                   5                                               ?                                   D                   ?                   @                                                                                               U                                                                                                                                                                                                                                                               A                                                                                       A                                                                               =                                                                                                   7                                                           G                                                                       G                                                                                                           8                                                                                           9                                                                           :                                                                                                                                                                               7                                                           ;                                                                                               <                                                           8                                                                       =                                                                                                           >                                                   ?                                           9                                                                                               A                                                                       ?                                                   9                                                           9                                           7                                                           =                                                                                   7                                       @                                                                                       <                                                                                                                       9                                   =                                                                               8                                                           6                                                                                                                                                                       G                                   <                                           =                                               7                                                               7                                       <                                                                                       5                                                       A                                                                       A                                                       =                                                               7                                                               G                                               G                                       J                                       K                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I                                                                                                                                   5                                                       ?                                       D                           ?                   @                                                                               U                                                                                                                                                                                                       A                                                           A                                                   =                                                                                   7                                                                       G                                                   G                                                                                               8                                                                           9                                                               L                                                                   8                                                           ?                           @                                                       <                                                   :                                                                                                           7                           ;                                                                                   <                                                   8                                                           =                                                                                                                       >                                                       ?                                               9                                                                                               A                                                                               ?                                                   9                                               9                                                           7                                                           =                                                                       7                                                           @                                                                               <                                                                                                       9                                           =                                                           8                                                           6                                                                                                                                                                               G                                               <                               =                                                                               7                                           7                                   <                                                                   5                                                           A                                                                   A                                       =                                                       7                                       G                                       G                       J                                                       K




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ^                                                                   W                       _                                                                                       \                                               P                                                               :                                                                                       ]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ^                                                                           W                   _                                                                                               \                                                                           P                                                                   :                                                                                   ]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        O
F                                           8                                                               T                                                       5                   <                                                           ?                                       8                                                                   @                                                                                                                                                       8                                                                                       9                                                                                   _                                                                                                                       =                                                                           ?               @                                                                                                           T                                                                               ?                               N                                                                                                       5                                                                                   D                                                                                                                                                                                                                                                       G                                                           G                                                                   7                                                   <                                                                   G                                                                                                       8                                                                           9                                                                           a                                                                                                               C                                                                                                       G                                                                   ?                       @                                                                                                   7                                                                           G                                                                       G                                                                                       :                                                                                                                                       7                                                           ;                                                           <                                                                   8                                           =                                                                                       >                                       ?                                           9                                                                   A                                                                               ?                                   9                                           9                                               7                                       =                                                                       7                                           @                                               <                                                                       9           =                                                       8                                       6                                                                                               G                                   <           =                                           7                                       7                                   <                                                                           5                                                                       A                                                                       A                                                   =                                                               7                                                   G                                                       G                                                                               5                                                   ;                                                                   8                                       B                                                       7                       J                                           K




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ^                                                                                           W                   _                                                                                       \                                                                               P                                                                   :                                                                               ]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -                                                                                                       b                                                                                   c                                                                                                           d                                                                                                                                                                                                                                                                          e                                                                                                                                       d                                                           f                                                                                           g                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,                                                                                                                                                              g                                                                                                                                                                              d                                                                                                                                                                                                                                                                                                                                                                                       j                                                                   d                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              c                                                                                       g                                                                                   d                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j                                                                                                                                                                                                                                                                                                                     c                                                                                           g                                                                                                                  b                                                                                                                                                                                                                                                                                                                 d                                                                                                                                                  j                                                                                                                              d                                                                                                                                                                                                                                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            >                               H                                                                                                                               8                                                                                   =                                                                   6                                                                                                                                                                                                   8                                                                       9                                                                                                   P                                                                                           =                                                                           U                                                                               5                                                           @                                                                                                   ?                               h                                                                                       5                                                   <                                                                       ?                                                   8                                                                   @                                                                                   J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           >                       \                                                           Q                                           7                                       T                                           i                                                                                                                                                                           j                                                                               d                                                                           ;                                                                               8                                                       Z                                                                       V                   J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           g                                                                                                                                                              d                                                                                                               1                                                                                                               d                                               g                                                                                                              g                                                                                                                                                                                                      j                                                                                                                                                                                                                                                                                                                                                                                                                                                                   d                                                                                                                                                                  >                                   \                                                               Q                                                                                   7                                               T                                   i                                                                                                                                           j                                                                   d                                                                   ;                                                               8                                                   Z                                                           V               J




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        >                                                               \                                                                                                   Q                                                                                                   7                                                                   T                                                       i                                                                                                                                                                                                                           j                                                                                       d                                                                                                   ;                                                                                                       8                                                               Z                                                                                                           V               J




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               7                                                                   5                                               D                       <                                   Q                                                                                                       \                                                                                               5                                               =                                                           7                                                       a                                                               C                                           G                                           ?               @                                                                   7                                           G                                               G




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ✔                                                                                                                                                                                                                                                                                                                                       \                                                                           Q                                                                                                       5                                                           N                                                                                   <                                                           7                                                           =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          \                                                       Q                                                                       5                                                           N                                           <                                           7                                   =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               _                                                                               7                                       <                                           ?               <                                       ?                               8                                           @                                                                           9                           8                           =




                            ✔                                                                                                                                                                                                                                   W                           @                                                                                                           A                                                                                           ?                           B                                                                                                           ?                                               A                                                                               C                                                                                                                       5                                                                               D                                                                       >                                                                   ?                               @                                                                                                   T                                                                                   D                               C                                                                                                                                   A                                                                                       7                                                                       G                                                                                           L                                                                           8                                                                               ?                           @                                                                               <                                                                               :                                                                                                                                               7                                                       ;                                                                                   <                                                       8                                                                               =                                                                       G                                                   J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           M                                                                       ?                           @                                                                                   U                                                           D                                       7
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    G                                                       G                                                   7                           <                                                           `                                                           7                                           5                                           D                                   ]                                                                                   G                                       <                                                   5                               <                                                               7                                                                               5                                                           G                                                                               A                                                                               7                                                   9                                   ?                       @                                                                                                   7                                                                       A                                                                                                       ?                       @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   \                                                                           Q                                                                                                       5                                                           N                                                                                   <                                                           7                                                               =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      `                                                                               7                                                       T                                                                       8                                               U                                           @                                                           ?           <                                           ?                                   8                                       @                                                                                                       8                                                           9                                                           5                                                               H                                                               8                           =                                               7                               ?                   U                       @




                                                                                                                                                                                                                                k                                                                                       l                                                                           l                                                                                                                           m                                                                                       n                                                                                               o                                                                                                                   p                                       q                                                                                               p                               r                                                                       s                                                                                                                                                                                                   t                                                                                               u                                                                                                                                   v                                                                                                           w                                                                   x                                                                                           l                                                                                                                       y                                                                                                                   t                                           z                                                                                                                           r                                               o                                                                                   p                                               {                                                           z                                                                                               t                                                                                   |                                                                       }                                                                                                                           ~                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    V                                       M                                                                       V                           \                                                                                   V                                                                                                                                                                                                                                                                                                   >                                                                                                                  a                                                                                           J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   \                                                                           Q                                                                                                       5                                                           N                                                                                       <                                                       7                                                               =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I                                                                                                                   5                                               ?                                       @                                                                           _                                                       =                                       8                                                   T                                                           7                                                       7                                           A                                                           ?                   @                                                           U




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                \                                                                                                       8                                                               =                                                                       N                                                                                                           8                                                           =                                                                                                   5                                                                   <                                                   ?                                                               8                                                   @                                                                                                                                                           >                                                       ?                           @                                                                                                                               T                                                                                   D                                   C                                                                                                       A                                                                                       7                                                                   G                                                                               F                                                                                                           F                                                                                                               \                                                                                                                                                       5                                                   @                                                                                                               A                                                                                                   F                                                                                                               F                                                                                           _                                                                                                           J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               `                                                                                                       5                                                                       ?                               D                   =                                                           8                                                               5                                                       A                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           \                                                                           Q                                                                                                       5                                                           N                                                                                       <                                                       7                                                               =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       \                                                       Q                                                                       5                                                           N                                           <                                           7                                   =                                                                                                                                                                                                  _                                                                               7                                       <                                           ?               <                                       ?                               8                                           @                                                                           9                           8                           =




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                    _                                                                                                                       5                                                   =                                                       <                                                       @                                                                                                           7                                                           =                                                                                                   G                                                   Q                                                                                                       ?                   N                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               M                                       <                                                                       8                                                                       T                                       i                                                                   ;                                                               =                                                               8                                           i                                                                                           7                                           =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       \                                                                           Q                                                                                                       5                                                           N                                                                                   <                                                           7                                                               =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       `                                                                               7                                                       T                                                                       8                                               U                                           @                                                           ?           <                                           ?                                   8                                       @                                                                                                       8                                                           9                                                           5                                                               H                                                               8                           =                                               7                               ?                       U                   @




                                                                                                                                                                                                                                                                P                                                                                               <                                               Q                                                                                                               7                                                       =                                                                                                                           >                                                                               W                                                               9                                                                                                   A                                                                   7                                                               ;                                                                                       <                                                                       8                                                                   =                                                                                                                                                   ?                                                   G                                                                                           @                                                                                                           8                                                   <                                                                                                           8                                                       @                                                                                                       7                                                                                                                   8                                                                                   9                                                                           <                                               Q                                                                                               7                                                                                                                           5                                                               ;                                                                                                   8                                                               B                                                                                                   7                                                                                               7                                               @                                                       <                                                       ?               <                                                           ?                                       7                                               G                                                       E                                                                               T                                       Q                                                                                   7                                                           T                                       i                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           \                                                                                       8                                                               6                                                                                                   6                                                                                                               8                                                                           A                                                       ?                       <                                           R                                                                               a                                                                   =                               8                               i                                                       7                                       =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       4                                                                                           8                                           @                                                                               6                                                                                               5                                       ?               @                                                                               _                                                           =                                                           8                                                       T                                                   7                                           7                                                   A                                                       ?           @                                               U




                                                                                                                                                                                                                                    <                                                   Q                                                                                                   ?                                           G                                                                                                   ;                                                                                                       8                                                                       Z                                                                                                                                                                           5                                                           @                                                                                           A                                                                                                                                           G                                       <                                                                               5                                                           <                                                                                       7                                                                                                       <                                                   R                                                                           N                                                                                                       7                                                                                                               8                                                                               9                                                                                           7                                                   @                                                                                       <                                                               ?                           <                                                   R                                                                                                               ;                                                                                                                   7                                                                                   D                                       8                                                                                                                                                                                                          V                   J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           \                                                                                   D                                           7                                                           5                                           =                                                           ?                   @                                                                           U                                                                                       a                                                                                                               5                           @                                                       i




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                P                                                                               <                                       Q                                                                                   7                                               =




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             c                                                                                           g                                                                   d                                                                                                                                                                                                                                                                                                                                                                                 e                                                                                                                                       d                                                           f                                                                               g                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -                                                                                                                                                                                                                                                        2                                                                                                                              d                                                                                                       c                                       g                                                                   2                                                                                                           j                                                   g                                                                          g                                               b                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,                                                                                                                                                                                                          g                                                                                                                                                                                                                                      d                                                                                                                                                                                                                                  e                                                                                           d                                   f                                                                           g                                               




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            >                                   \                                                                       Q                                                                           7                                                                       T                                   i                                                                                                           ;                                                               8                                       Z                                                   E                                   ?                               9                                               5                                               N                                                   N                                                                                   D                       ?                                           T                                                       5                                           ;                                                                               D                       7                                                                       V               J                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   >                                                                       \                                                                                               Q                                                                               7                                                                   T                                                       i                                                                                                                                                                                                                       j                                                       d                                                               ;                                                               8                                                                   Z                                                                   V           J




    \                                                   8                                           C                                                           @                                                   <                                       =                                               R                                                                                                                                                       8                                                                                   9                                                                                                       A                                                                                                       7                                                                           ;                                                                       <                                                                       8                                                           =                                                                                                                                              G                                                                                                               T                                                                                           7                                                               @                                                                                               <                                                               7                                                               =                                                                                                           8                                                                               9                                                                           6                                                                                                                                       5                                                                           ?                                   @                                                                                                                                               ?                       @                                                                           <                                                                           7                                                       =                                                                               7                                                                           G                                               <                                                           G                                                               K




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ✔
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :                                                                                                               7                                                           ;                                                               <                                                                           G                                                                                                       5                                               =                                                                       7                                                                                                       N                                                                                       =                                                                       ?                               6                                                                                                                                                       5                                               =                                                                           ?                                           D                           R                                                                                                                                       T                                                                   8                                                           @                                                                                               G                                               C                                                                   6                                                                                                                   7                                   =                                                                                                                                                                                                                                                                                                                                                                                                   :                                                                                                   7                                           ;                                                   <                                               G                                                               5                                   =                                                       7




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :                                                                                                                   7                                               ;                                                               <                                                       8                                                       =                                                                               ?                                               G                                                                               5                                                                                   <                               5                                   Z                                                   X                       7                                   Z                                               7                                               6                                                                               N                                                                           <                                                                               8                                       =                                                                   U                                                           5                                   @                                                                                               ?                       h                                                                   5                                       <                                                               ?                                                   8                                                           @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   A                                                           7                                                   ;                                                                       <                                                               G                                                               E                                                                                       A                                                                                       7                                                                       9                                                       ?                   @                                                                                                       7                                                                           A                                                                                                                                       ?                       @                                                                                                                                                                                                                                                                                                                                                                                                                                                                   V                                       M                                                                                       V                           \                                                                                                   V                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N                                                   =                                                           ?                   6                                                                                                   5                               =                                               ?                               D               R




]                                           5                                                       T                                   Q                                                                                                   T                                                                       8                                                               C                                                                                       @                                                                               <                                                               =                                                       R                                                                                                                                                                                   ?                   @                                                                                                                                                                                                                                                              Q                                                                                                   ?                                                   T                                                               Q                                                                                                                                                                               5                                                                                                                   9                                                               8                                                   =                                                                           7                                                                           ?                                           U                                                           @                                                                                                                           N                                                                               =                                                                       8                                                                                               T                                                           7                                                                               7                                                                               A                                                                               ?                               @                                                                                                       U                                                                                                       ;                                                               R                                                                                   E                                       =                                                               7                                                               U                                                                   5                               =                                                                   A                                                                       ?                           @                                                                                   U                                                               E                                                               8                                   =                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                C                                                           @                                                                                       A                                                                           7                                   =                                                                               <                                           ?                               <                                                       D                           7                                                                                                                                                                                                                               8                                           9                                   <                                   Q                                                   7                                                                                                                                                               @                                                                                   ?                   <                                               7                                                               A                                                                               M                                                                   <                                                               5                               <                                                   7                                                       G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   >                                                       S                                                                   J                                                                                                                   5                                                           G                                                                                                                                                                                                  ?                           @                                                                                                       T                                               C                                                                           =                                                                   =                                                                           7                                                               A                                                                                       ;                                                                                       R                                                                                                                           5                                                       @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ;                                                       C                                                                               G                                   ?                       @                                                                   7                                               G                                       G                                                               A                                               7                           ;                           <                           G                           V




    5                               U                                                   5                                                   ?                   @                                                           G                                                   <                                                                                                       A                                                                                       7                                                           ;                                                                                       <                                                                       8                                                                                   =                                                                                                               ?                                                               G                                                                       N                                                                                                                   7                                                       @                                                                                                               A                                                                                                               ?                           @                                                                                                                   U                                                                                   K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            \                                                                           8                                                                                       A                                                               7                                                                                           >                               <                           Q                                                                                       7                                                                                                   W                           @                                                   <                                       7                           =                           @                                                   5                                               D                               `                                                                                               7                                               B                                                                   7                                               @                                                               C                                                                               7                                                                                   \                                                                                                           8                                                       A                                                               7                                                   J                                                                           V                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ?                   @                                                                                   A                                                                       ?                       B                                                                                                           ?                                               A                                                               C                                                                                                   5                                                                       D                                                                       N                                                                                   =                                                                               ?                           6                                                                                                                                                   5                                                   =                                                                           ?                                           D                               R                                                                                                                           9                                               8                                                                   =                                                                                                                                               5




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                N                                                                               7                                                       =                                                           G                                                           8                                                                   @                                                                                                           5                                                                           D                                   E                                                                                           9                                                   5                                                       6                                                                                                                                                       ?                                           D                                   R                                                                                               E                                                                                   8                                                           =




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Q                                                                               8                                                                   C                                                                                   G                                                                   7                                                   Q                                                                                                       8                                                                               D                                                   A                                                                                                           N                                                                               C                                                                                       =                                                       N                                                                                                       8                                                                       G                                                                       7                                                                           V                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j                                                                                                                                                                                                                                                                                                                                      d                                                                       d                                                                                                               >                                                                   \                                                                                   Q                                                                                               7                                                           T                                               i                                                                                                           8                                               @                                                                                           7                                                                   ;                                                                                                   8                                               Z                                                                                       V               J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         c                                                                                           g                                                               d                                                                                                                                                                                                                                                                                                                                                                                             e                                                                                                                                               d                                                   f                                                                                       g                                                                                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  d                                                                                                                                                                                                                                                                                         j                                                                               d                                                               f                                                                                                                                                                                                                                                                      




                ✔
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                    H                                                                                                   C                                                                                                   D                                                       D                                                           H                                                                                                                               ?                                                           D                                                           ?                                   @                                                                                                   U                                                                                               H                                                                                                                           7                                                                               7                                                                                                                                       5                                                               <                                                       <                                                                   5                                                                           T                                                           Q                                                                                               7                                                                       A                                                                                   V                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :                                                                                                   7                                                   ;                                                                           <                                               8                                               =                                                                                                       ?                                           G                                                                                                   5                                                                                                           G                                           6                                                                                                                           5                                               D                               D                                                   ;                                                           C                                                                       G                                       ?                               @                                                                       7                                                                   G                                                       G                                                                                                               A                                                                                       7                                                       ;                                                                           <                                                                   8                                                               =                                                                                                                   5                                                                               G                                                                                                           A                                                                               7                                                                       9                                                       ?                               @                                                                                           7                                                           A                                                                                                                           ?                       @                                                                                                                                                                                                                                                                                                                                                                       V                                       M                                                           V                               \                                                               V                                                                                                                                                                                                                                                                                                                       >                                                                                                                                  :                                                                       J                                   V




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :                                                                                                   7                                                   ;                                                                           <                                               8                                               =                                                                                                       ?                                           G                                                                                           @                                                                           8                                                                       <                                                                               5                                                                                                   G                           6                                                                                                               5                                               D                               D                                               ;                                                           C                                                                                                   G                                               ?                           @                                                                                                           7                                                                           G                                                                   G                                                                                                   A                                                                               7                                                       ;                                                                                       <                                                                   8                                                               =                                                                                                               5                                                                   G                                                                                                               A                                                                           7                                                               9                                                       ?                       @                                                                                                   7                                                           A                                                                                                           ?           @                                                                                                                                                                                                                                                                                                                                           V                       M                                                           V                   \                                                                           V                                                                                                                                                                                                                                                                                                                           >                                                                                                      :                                                       J                       V




                                                                                                                                                                                                                                    H                                                                                                                   ?                                               D                                               ?                               @                                                                                                       U                                                                                                                   H                                                                                                                                               7                                                                   7                                                                                           <                                                                       8                                                                                                               ;                                                                                                               7                                                                                                                           N                                                                                                               5                                                                       ?                                                       A                                                                                                                   ?                           @                                                                                                                                               ?                   @                                                                                               G                                               <                                                                       5                                                               D                                                       D                       6                                                                                                                                                       7                                                   @                                                                                           <                                                               G                                                                                                           >                                                   5                                                   N                                                                   N                                                                                       D                           ?                                       T                                                   5                                                       ;                                                                   D                                       7                                                                                           <                                                   8                                                                                                           ?                   @                                                                                   A                                       ?               B                                                               ?                                   A                                   C                                                           5                                       D                       G                                               8                                   @                                                                   D                   R                                                       J                                                                       V                                                                                       I                                                                                                                       C                                                                               G                                   <                                                                                           5                                       <                           <                                       5                                       T                           Q




                                                                                                                                                                                                                                                                G                                                               ?                                       U                                                               @                                                                                                           7                                                                                       A                                                                                                                                                       5                                                               N                                                                           N                                                                                                   D                                                   ?                                                           T                                                                   5                                                           <                                                                   ?                                                                       8                                                                       @                                                                                                                                                       9                                                   8                                                           =                                                                                               <                                               Q                                                                                               7                                                                                                           T                                                                               8                                                               C                                                                                   =                                                           <                                                                                                                          G                                                                                                           T                                                               8                                                                                   @                                                                                           G                                                               ?                                           A                                                               7                                           =                                               5                                               <                                                       ?                                   8                                                   @                                                                                                               T                                                                   7                                           =                                           <                                                           ?                                       9                       R                                                           ?                   @                                                       U                                                                       <                       Q                                                           5                       <                                           <                       Q                                                               7                                                                                   A                                                                       7                                           ;                                                               <                                                   8                                                   =                                                                                           ?                                   G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  d                                                                                                                                                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   O
                                                                                                                                                                                                                                    C                                                                                       @                                                                                               5                                                                   ;                                                                                                           D                                           7                                                                                                                           <                                                                               8                                                                                                           N                                                                                           5                                                                   R                                                                                                                                                   9                                                       7                                                                                                   7                                                                                                                                   7                                                   Z                                                                                                                   T                                                           7                                                   N                                                                               <                                                                                                           ?                       @                                                                                                                                                   ?                       @                                                                                                       G                                           <                                                       5                                                                                   D                                                   D                           6                                                                                                                                                   7                                                           @                                                                           <                                                               G                                                   V                                                                                   `                                                                                   C                                                                                       D                                       7                                                                                                                                                                                                                                                                                                                                                                           >                               ;                                                   J                                                   V                                                                       M                                                       7                                           7                                                       P                                                               9                           9                                   ?                       T                                                               ?                           5                                                                       D                                                           H                                                                                       8                                                   =                                           6                                                                                                                                                                                                                                                                                                   V                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :                                                                                                   7                                                   ;                                                                           <                                               8                                               =                                                                                                                      G                                                                                                       5                                                   U                                                                                           U                                               =                                                               7                                                               U                                                       5                                                   <                                   7                                                               @                                                                   8                                                       @                                                                                   T                                                               8                                                           @                                                                                   <                                                                       ?                           @                                                                                           U                                                                                       7                                                   @                                                                                   <                                                                                                                   D                                               ?                                                                                                          C                                                                                           ?                                                       A                                                                                   5                                           <                                                           7                                                                       A                                                                                                                   A                                                                       7                                                   ;                                                               <                                       G                                                                       >                                       7                                                   Z                                                                   T                                                   D       C                                                               A                                                       ?                   @                                                                   U                                                                                       A                                                           7                               ;                                                   <                                       G                                                           8                                                                                                      7                       A                               <               8




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     w                                                                   }                                                                                   t                                                                                                              u                                                                   r                                                           {                                                                                  q                                                                                          l                                                                                                      r                                                       r                                   t                                                                           w                                                                                                                                                                        {                                   r               }                                               l                   u           r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ?                   @                                                               G                                                           ?                                           A                                                               7                               =                                                               G                                                                                                           8                                                               =                                                                                               5                                                                           9                                           9                                               ?                                           D                               ?                           5                                                   <                               7                                                   G                                   J                                                                               5                                       =                                                               7                                                                                                       D                                           7                                                                               G                                                                   G                                                                                           <                               Q                                                                                                               5                                                       @                                                                                                                                                                                                                                                                                                                      E                                                                                                                                                                                                                                                                                       E                                                                                                                                                                                                                                                                                                                   >




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        t                                                       u                                                                                                                                                                       ¡                                               ¢                                                           £                                                       ¡                                                               £                                                                                   ¤                                                                                               w                                                                                       u                                                                                                                                                                  l                                                               ¥                                           l                                               |                                       ¦                                                                                                   r                   o                                                                                       |                                               l                                                                   l                                                                                                   ¦                                                                                           l                                                                       w                                                                                   |                                                                   {                                                                                                           r                                           o                                                                                           l                                                                           |                                                           l                                                                   w                                                   z                                                                                           r                               l                                                               |                                                                                                                   ~
                                                                                                                                                                                                                                    H                                                                                                                   ?                                               D                                               ?                               @                                                                                                       U                                                                                                                   H                                                                                                                                               7                                                               7                                                                                                                                                                                                                                                      5                                                                           ?                               B                                                                                                                           7                                                                   =                                                                                                       =                                                                           7                                                                                                                                  C                                                                                                           7                                                                       G                                   <                                                               7                                                                           A                                                                                                                   >                                                                   5                                               N                                                                               N                                                                                                               D                                           ?                                                           T                                                                   5                                                           ;                                                                                           D                                               7                                                                           <                                                           8                                                                                       T                                       Q                                                                                               5                           N                                                                               <                                                           7                                       =                                                                                                                                                                                              ?                       @                                                           A                                               ?           B                                                                       ?                       A                                   C                                                       5                                   D                       G                                                               8                                           @                                                                           D                           R                                                                               J                                                   V                                                                                       I                                                                                                                   C                                                                               G                                           <                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   J




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                5                                               <                                               <                                                           5                                                                                       T                                                   Q                                                                                                                                                                   G                                                                                       ?                                           U                                                               @                                                                                                   7                                                                                       A                                                                                                                               5                                                           N                                                                                                           N                                                                                                                   D                                                   ?                                   T                                                                                   5                                               <                                                               ?                                               8                                                           @                                                                                                                                           9                                               8                                                                       =                                                                                           <                                                   Q                                                                                       7                                                                                                                               T                                                                                   8                                                   C                                                                                                       =                                           <                                                                                                                  G                                                                                       T                                                   8                                           @                                                                                       G                                                       ?                                   A                                                           7                                               =                                                               5                                           <                                                       ?                                           8                                                   @                                                               V                                                                       M                                                               7                                           7                                                       P                                                                       9                   9                                   ?                       T                                                   ?                                   5                                                       D                                                           H                                                                                           8                                               =                                               6                                                                                                                                                                                                           a                                                                                           V                                                                                                                                                                                                                                                                                                                                                   X                                                                           X                                                                       X                                                                           X                                                                           X                                                                   X                                                                                   X                                                                                   X                                                                   X                                                                                                       X                                                                                       X                                                                                   X                                                                                           X                                                                           X                                                                               X                                                                       X                                                                       X                                                               X                                                               X                                                                           X                                                                                           X                                                                                   X                                                                                               X                                                                                                   X                                                                                       X                                                                                                           X                                                                                               X                                                                                           X                                                                                                       X                                                                                                   X                                                                                   X                                                                                                           X                                                                                   X                                                                                   X                                                                                                       X




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  d                                                                                                                                                                                                                                                                                                                                                                                                                                                 c                                                                               c                                                                                                                                                                                                                                                                                                                               f                                                                                                                                  d                                                               f                                                                                                                                                                                                      d                                                                                                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N                                                                                               D                           5                                           @                                                                                                                       ?                                               G                                                                                   ;                                                                                       7                                                                           ?                   @                                                                                       U                                                                                           9                                           ?                           D                                   7                                               A                                                                                                                                                                                  ?                   <                                                   Q                                                                                                               <                                           Q                                                                                                           ?                                           G                                                                               N                                                                                                           7                                                           <                                                               ?                           <                                                                   ?                                               8                                                               @                                                                                                   V




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                T                                                                   T                                                                       7                               N                                                           <                                                               5                                                           @                                                                                                   T                                                   7                                                                           G                                                                                               8                                                               9                                                   <                                   Q                                                                           7                                                           N                                                                   D                                                   5                           @                                                                                                                                                                                                                                                      7                                                       =                                                                           7                                                                                                               G                                                                   8                                                                                       D                                       ?                                           T                                                                                   ?                       <                                                                       7                                                                   A                                                                                                           N                                                                                       =                                                           7                                                   N                                                                                               7                                                       <                                                       ?                       <                                                   ?                                                       8                                       @                                                                                               9               =                                                           8                                                           6                                                                                                                       8                                   @                                                           7                                                                               8                                                   =                                                               6                                                                                               8                                           =                                                   7                                                   T                                               D                       5                           G                       G                       7               G




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    8                                                       9                                                                           T                                               =                                                           7                                                       A                                                                   ?                           <                                                               8                                                                   =                                                       G                                                               E                                                                           ?                   @                                                                                                                       5                                                   T                                               T                                                       8                                               =                                       A                                                                       5                                       @                                                                                           T                                                                       7                                                                                                                                                                                                                                              ?                       <                                       Q                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               V                                           M                                                                                           V                                   \                                                                                                           V                                                                                                                                                                                                                                                                                                                                                                                                                                                                               >                           ;                                                       J                                               V




                               g                                                                                          g                                                                                                                 g                                                                                                                                                                                                                                                                                                                                                                          .                                                                                                                                                                                                                                                                                                                                                                                                                                                             j                                                                                                                                                                                                     g                                                                                                                                                                                                                                                          g                                                                                                      §                                                                                                           d                                                                                           3                                                                               j                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             g                                                                                                                                                                                                                      j                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ¨                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ©                                                               




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ª                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :                                                                                                                                                                       7                                                                       ;                                                                   <                                                                           8                                                       =                                                                                                                                   7                                                                           G                                               <                                                                                   ?                                       6                                                                                                                                                                   5                                                   <                                                                       7                                                               G                                                                               <                                                   Q                                                                                                   5                                                   <                                                                                                       9                                           C                                                                           @                                                                                                               A                                                                       G                                                                                                                                                                                                                                          ?                                                       D                                           D                                                           ;                                                                                                   7                                                                                               5                               B                                                                                   5                                                               ?                                   D                                   5                               ;                                                                                               D                                   7                                                                                           9                                                       8                                               =                                                                           A                                                       ?                       G                           <                               =                                       ?               ;                                           C                                                   <                           ?                       8                                   @                                                                                       <                                   8                                                                                                           C                                                               @                                                                                   G                                       7                                                               T                                               C                                                               =                                                                   7                                       A                                                                       T                           =                               7                                                   A                                   ?                               <                               8                                                   =                                                               G                                           V




                ✔
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :                                                                                                                                                                       7                                                                       ;                                                                       <                                                                       8                                                           =                                                                                                                               7                                                                               G                                               <                                                                               ?                                       6                                                                                                                                                                   5                                                   <                                                                       7                                                               G                                                                                   <                                                   Q                                                                                               5                                                   <                                                           E                                                                                           5                                                                   9                                       <                                                                       7                                   =                                                                                                                               5                                                           @                                                                                   R                                                                                                                                               7                                                       Z                                                                                   7                                                       6                                                                                       N                                                               <                                                                               N                                                       =                                                                       8                                                       N                                                                               7                                           =                                                       <                           R                                                                                               ?                                   G                                                       7                                           Z                                                   T                                   D                       C                                               A                                           7                                       A                                                                                           5                                       @                                                                                                       A                                                                                           5                                                       A                                                   6                                                                                                                   ?                   @                                                                                           ?                   G                       <                                       =                               5                           <                               ?               B                                                   7                                                                                       7                                   Z                                                                       N                                                                               7                               @                                                                                           G                                           7                                                   G                                                                                   N                                                                           5                                                       ?                                       A                                                                                   E                                                           <                                           Q                                                                                       7                                                       =                                                                   7                                                                                                                                                                                      ?                   D                                   D                                       ;                                                                   7                                                                       @                                                                                                       8                                                                                                               9                                   C                                                                                       @                                                                                                           A                                                                               G                                                                                                   5                                                           B                                                                                                   5                                                                               ?                                           D                                           5                                                       ;                                                                                                   D                                           7                                                                                                               9                                               8                                                           =




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                A                                                                                               ?                                                                   G                                                   <                                   =                                                                               ?                   ;                                                                                           C                                                                                       <                                                                       ?                                               8                                                                               @                                                                                                                                                   <                                                                       8                                                                                                       C                                                                           @                                                                                                           G                                                       7                                                                       T                                                   C                                                                                   =                                                                           7                                                                   A                                                                                                                       T                                                           =                                                                               7                                                                                   A                                                                               ?                               <                                                               8                                                           =                                                                       G                                                   V




]                                           G                                       <                                       ?                       6                                                                                                       5                                               <                                                                   7                                                                               A                                                                                                           4                                                                                                                                   C                                                                                                               6                                                                                                                                       ;                                                                                               7                                                           =                                                                                                                       8                                                                                           9                                                                                                                           \                                                                                                   =                                                                           7                                                                               A                                                                           ?                           <                                                               8                                                       =                                                                               G




    
                ✔                       X
                                                            
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        X                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                X                                                                                                                                                                     
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        X                                                                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    X                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    X                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               P                                                                                       B                                                                                                   7                                               =




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            O
]                                           G                                       <                                       ?                       6                                                                                                       5                                               <                                                                   7                                                                               A                                                                                                                                                                                                                                                                       G                                                                                       G                                                                   7                                                       <                                                           G




    
                ✔                       
                                                                                                                <                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            <                                                                                       8                                                                                                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        <                                                                               8                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                           8                                                                   =                                                                   7                                                                               <                                                   Q                                                                   5                               @




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
                                                                                                                                                      E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               <                                                               8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                   8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         <                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     <                                                           8                                                                                                                                                                                                                                                                                                                                  ;                                                                                               ?                                               D                                       D                                                   ?                                           8                                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ;                                                                                                   ?                                       D                                       D                                                   ?                           8                                           @




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                6                                                                                                                                               ?                               D                                   D                                           ?                           8                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                   6                                                                                                                       ?                                           D                   D                           ?                                   8                               @                                                                                                                                                                                                                                                                                                                                                                       6                                                                                                                       ?                                           D                                   D                               ?                                   8                                                       @                                                                                                                                                                                                                                                                                                                                                                                                                                                           6                                                                                   ?                                       D                       D                                   ?                                   8                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               6                                                                                                                                           ?                                                       D                                           D                           ?                                       8                                                                   @




]                                           G                                       <                                       ?                       6                                                                                                       5                                               <                                                                   7                                                                               A                                                                                                           F                                                                                                                                       ?                                                           5                                                                       ;                                                                                                   ?                                           D                                       ?                               <                                                                           ?                                               7                                                                           G




    
                                        
                                                                                                                <                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            <                                                                                       8                                                                                                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ✔                                                                                                                                                                                                                     
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        <                                                                               8                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I                                                                                                                                           8                                                                   =                                                                   7                                                                               <                                                   Q                                                                   5                               @




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
                                                                                                                                                      E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         E                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               <                                                               8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                   8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         <                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  <                                                           8                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     <                                                           8                                                                                                                                                                                                                                                                                                                                  ;                                                                                               ?                                               D                                       D                                                   ?                                           8                                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ;                                                                                                   ?                                       D                                       D                                                   ?                           8                                           @




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                6                                                                                                                                               ?                               D                                   D                                           ?                           8                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                   6                                                                                                                       ?                                           D                   D                           ?                                   8                               @                                                                                                                                                                                                                                                                                                                                                                       6                                                                                                                       ?                                           D                                   D                               ?                                   8                                                       @                                                                                                                                                                                                                                                                                                                                                                                                                                                           6                                                                                   ?                                       D                       D                                   ?                                   8                                                   @                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               6                                                                                                                                           ?                                                       D                                           D                           ?                                       8                                                                   @
                  Case
B1 (Official Form 1) (12/11)13-25656            Doc 1 Filed 06/24/13 Entered 06/24/13 00:06:43 Desc Main                                                                  Page 2
 Voluntary Petition                                           Document              Page
                                                                                     Name of2    of 14
                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                               Lora Y. Georgieva
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:

 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X     /s/ Roger P. Galer                         6/23/2013
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  ✔    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case
B1 (Official Form 1) (12/11)13-25656            Doc        1     Filed 06/24/13 Entered 06/24/13 00:06:43                                      Desc Main                     Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 14
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)                                      Lora Y. Georgieva
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X     /s/ Lora Y. Georgieva                                                                 X
      Signature of Debtor                                                                         (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
       6/23/2013                                                                                  Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X     /s/ Roger P. Galer                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Roger P. Galer                                                                        provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       The Galer Firm, P.C.                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
       225 W. Washington St., Suite 2200                                                     or accepting any fee from the debtor, as required in that section. Official Form 19 is
       Chicago, Illinois 60606                                                               attached.
      Address
       312-498-2409
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       6/23/2013
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true        Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States         Signature
 Code, specified in this petition.

 X                                                                                                Date
      Signature of Authorized Individual
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.

      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
    Case 13-25656               Doc 1       Filed 06/24/13 Entered 06/24/13 00:06:43   Desc Main
                                              Document     Page 4 of 14


B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                               Northern                 Illinois
                                __________ District of __________


                Lora Y. Georgieva
          In re__________________________                                Case No._____________
                                Debtor                                             (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
  Case 13-25656                Doc 1         Filed 06/24/13 Entered 06/24/13 00:06:43     Desc Main
                                               Document     Page 5 of 14


                                                                                                 Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        ’ 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       ’ 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 ’ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 ’ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 ’ Active military duty in a military combat zone.

       ’ 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                               /s/ Lora Y. Georgieva
                                          Signature of Debtor: ________________________

                                                6/23/2013
                                          Date: _________________
            Case 13-25656        Doc 1    Filed 06/24/13 Entered 06/24/13 00:06:43              Desc Main
B 201A (Form 201A) (11/11)
                                            Document     Page 6 of 14


                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
           Case 13-25656 Doc 1 Filed 06/24/13 Entered 06/24/13 00:06:43                             Desc Main
         Form B 201A, Notice to ConsumerDocument
                                         Debtor(s) Page 7 of 14                                          Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                Case 13-25656          Doc 1       Filed 06/24/13 Entered 06/24/13 00:06:43                       Desc Main
B 201B (Form 201B) (12/09)
                                                     Document     Page 8 of 14

                                    United States Bankruptcy Court
                                          Northern District Of _______________
                                         _______________            Illinois
In re                  Lora Y. Georgieva                                            Case No. _________
                            Debtor
                                                                                                   7
                                                                                    Chapter __________



                         CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                             UNDER § 342(b) OF THE BANKRUPTCY CODE


                              Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

________________________________________                                            ___________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
________________________________________                                            number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________                                            by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                      Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

Lora Y. Georgieva
_________________________________________                                    /s/ Lora Y. Georgieva 6/23/2013
                                                                          X___________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor  Date

Case No. (if known) ____________________                                  X___________________________________
                                                                          Signature of Joint Debtor (if any)
         Date   6/23/2013


__________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
   Case 13-25656                 Doc 1         Filed 06/24/13 Entered 06/24/13 00:06:43                                    Desc Main
B 203
                                                 Document     Page 9 of 14
(12/94)


                             United States Bankruptcy Court
                                 Northern
                             _______________                  Illinois
                                             District Of _______________


In re Lora Y. Georgieva

                                                                                         Case No. ___________

Debtor                                                                                               7
                                                                                         Chapter _________


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:

                                                                                                                       475.00
    For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                        475.00
    Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                    0.00
    Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

             ✔ D ebtor                          O ther (specify)

3. The source of compensati on to be paid to me is:

              ✔   D ebtor                       O ther (specify)

4. ✔ I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
     members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

   a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
      to file a petiti on in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

   c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
      hearings thereof;
    Case 13-25656          Doc 1
                      Filed 06/24/13 Entered 06/24/13 00:06:43 Desc Main
                       Document     Page 10 of 14
    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


6. Byd.agreement   with the
        Representation       debtor(s),
                         of the  debtor inthe above-disclosed
                                            adversary proceedinfee  does
                                                                gs and   not contested
                                                                       other include representation
                                                                                       bankruptcy matters;
of the Debtor in any of the following contested matters:
a. Dischargeability  actions
     e. [Other provisions   as /adversary
                                needed]     actions;
b. Judicial lien avoidances;
c. Relief from automatic stay actions;
d. Avoidance of liens pursuant to 11 USC 522(f)(2)(A) on household goods; or
e. Any other adversary proceedings.




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


               6/23/2013
      ___________________________                         /s/ Roger P. Galer
                                             ___________________________________________________
                 Date                                          Signature of Attorney


                                                         The Galer Firm, P.C.
                                             _____________________________________________________________
                                                               Name of law firm
  Case 13-25656        Doc 1  Filed 06/24/13 Entered 06/24/13 00:06:43                Desc Main
                               Document     Page 11 of 14
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN
                                 SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                CASE NO.
Lora Y. Georgieva


               Debtor(s).


                            VERIFICATION OF CREDITOR MATRIX


       The above named Debtor(s) hereby verify that the attached list of creditors is true and correct
to the best of my/our knowledge and that it corresponds to the creditors listed in my/our schedules.


Date: 6/23/2013

                                               /s/ Lora Y. Georgieva
                                               Debtor


                                               Joint Debtor
     Case 13-25656       Doc 1   Filed 06/24/13 Entered 06/24/13 00:06:43   Desc Main
                                  Document     Page 12 of 14


Account Services Department
PO Box 731
Mahwah, NJ 07430

Admin. Recovery LLC
9159 Main St.
Clarence, NY 14301

Advocate Medical Group
PO Box 92523
Chicago, IL 60675
Bank of America
PO Box 982235
El Paso, TX 79998
Capital One National Association
PO Box 60
St. Cloud, MN 56302

Capital One NA
1 S. Orange St.
Wilmington, DE 19801

Chevy Chase Fed. Sav. Bank
Attn: Bankruptcy
PO Box 30285
Salt Lake City, UT 84130

Capital One NA
3905 N. Dallas Pkwy
Plano, TX 75093

Capital One, NA
c/o Johnson, Blumberg & Associates, LLC
230 W. Monroe St., Suite 1125
Chicago, IL 60606

Cartright Law
707 Skokie Blvd., Suite 600
Northbrook, IL 60062
Chase Bank
PO Box 15298
Wilmington, DE   19850

Citibank SD, N.A.
ATTN: Centralized Bankruptcy
PO Box 20363
Kansas City, MO 64195
Citibank SD, N.A.
c/o Blatt, Hasenmiller, Leibsker & Moore LLC
125 S. Wacker Dr., Suite 400
Chicago, IL 60606
Comcast
c/o Stellar Recovery
1327 Highway 2 W, Suite 100
Kalispell, MT 59901
Consumers Coop Credit Union
PO Box 9119
Waukegan, IL 60079
     Case 13-25656      Doc 1   Filed 06/24/13 Entered 06/24/13 00:06:43   Desc Main
                                 Document     Page 13 of 14


Consumers Coop Credit Union
2750 Washington St.
Waukegan, IL 60085

Consumers Cooperative Credit Union
c/o Trunkett & Trunkett, P.C.
20 N. Wacker Drive, Suite 1434
Chicago, IL 60606-2902
Credit Protection Association L.P.
13355 Noel Rd.
Dallas, TX 75240

Dimitar Georgiev
1251 Wyndham Drive
Palatine, IL 60074
Dish
Dept. 0063
Palatine, IL   60055

Groot Industries, Inc.
PO Box 1325
Elk Grove Village, IL 60009
Groot Industries, Inc.
40 Porter Drive
Round Lake Park, IL 60073

Illinois Tollway
2700 Ogden Avenue
Downer's Grove, IL     60515
ING Direct
ATTN: loan servicing
30 7th Avenue South
St. Cloud, MN 56301

Johnson Mitchell & Schneider, Inc.
c/o Kenneth R. McEvoy
628 Columbus St., Suite 107
Ottawa, IL 61350
North Shore Gas
PO Box A3991
Chicago, IL 60690
People's Energy/Gas
ATTN: Bankruptcy
130 E. Randolph, 17th Floor
Chicago, IL 60601
PNC Bank, NA
6 N. Main St.
Dayton, OH 45402
PNC Bank, NA
c/o Heavner, Scott, Beyers & Mihlar, LLC
PO Box 740
Decatur, IL 62525

Stellar Recovery
4500 Salisbury Road, Suite 10
Jacksonville, FL 32216
     Case 13-25656     Doc 1   Filed 06/24/13 Entered 06/24/13 00:06:43   Desc Main
                                Document     Page 14 of 14


TCF National Bank
ATTN: Bankruptcy Dept.
800 Burr Ridge Pkwy
Burr Ridge, IL 60521
Village of Mundelein
440 E. Hawley Street
Mundelein, IL 60060
Wyndam Club Condominium Association
c/o Kerry T. Bartell
750 W. Lake Cook Rd., Suite 350
Buffalo Grove, IL 60089

Yard Card
PO Box 1771
Memphis, TN   38101
